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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket No. 935, 964 & ___


        ORDER GRANTING CONTINUANCE OF DEBTORS’ SECOND MOTION TO
            EXTEND THE DEBTORS’ EXCLUSIVE PERIODS TO FILE AND
                   SOLICIT VOTES ON A CHAPTER 11 PLAN

            Upon consideration of the Certification of Counsel Regarding Order Granting

Continuance of Debtors’ Second Motion to Extend the Debtors’ Exclusive Periods to File and

Solicit Votes on a Chapter 11 Plan seeking entry of an order, pursuant to section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 7042(a), for a continuance of the Motion; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and after due deliberation and

sufficient cause appearing therefor,

            IT IS HEREBY ORDERED THAT:

            1.    The continuance is GRANTED as set forth herein.




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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        2.        The Motion and Mr. Singh’s Objection to the Motion will be heard on March 5,

2024 at 3:00 p.m. (ET).

        3.        The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

        4.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the interpretation or implementation of this Order.




Dated: February 13th, 2024                               MARY F. WALRATH
Wilmington, Delaware                                     UNITED STATES BANKRUPTCY JUDGE
                                                     2

WBD (US) 4858-9566-0197v1
